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                                                 STATE OF NEW YORK
                                          OFFICE OF THE ATTORNEY GENERAL
 LETITIA JAMES                                                                                          BARBARA D. UNDERWOOD
ATTORNEY GENERAL                                                                                             SOLICITOR GENERAL
                                                                                                       DIVISION OF APPEALS & OPINIONS


                                                            July 13, 2023

       Catherine O’Hagan Wolfe
       Clerk of Court
       U.S. Court of Appeals for
        the Second Circuit
       40 Foley Square
       New York, NY 10007

                 Re: Upsolve, Inc. v. James, No. 22-1345
                     Capogrosso v. Gelbstein, No. 22-2827


       Dear Ms. Wolfe:

             I represent the state defendants in the above-captioned appeals. I
       write to advise the Court that I will be unavailable for oral argument
       from September 5 through September 22, 2023. I respectfully request
       that these cases not be calendared for oral argument during that period.

                                                            Respectfully submitted,

                                                            /s/ Cleland B. Welton II

                                                            Cleland B. Welton II
                                                            Assistant Solicitor General

       cc (via CM/ECF): All counsel of record



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